
971 So.2d 288 (2008)
B.H., Appellant,
v.
STATE of Florida, Appellee.
No. 2D07-1158.
District Court of Appeal of Florida, Second District.
January 11, 2008.
*289 James Marion Moorman, Public Defender, and Brad Permar, Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Ronald Napolitano, Assistant Attorney General, Tampa, for Appellee.
PER CURIAM.
B.H. appeals the trial court's restitution order requiring her to satisfy two obligations totaling in excess of $125,000. B.H. asserts that the trial court committed two errors. First, the trial court failed to comply with section 985.437(2), Florida Statutes (2006), by not determining a restitution amount that the child could reasonably be expected to pay. Second, the trial court improperly relied on hearsay evidence in ordering the amount of restitution. The State concedes error. We agree.
Accordingly, we reverse and remand for a new evidentiary hearing.
Reversed.
FULMER, CASANUEVA, and CANADY, JJ., Concur.
